Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.251 Page 1 of 6
Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.252 Page 2 of 6
Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.253 Page 3 of 6
Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.254 Page 4 of 6
Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.255 Page 5 of 6
Case 2:06-cr-00068-RHW   ECF No. 98   filed 02/15/07   PageID.256 Page 6 of 6
